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 7

 8                              UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10

11    MIGUEL LICEA, individually and on           Case No. 5:22-cv-1413
      behalf of all others similarly situated,
12
                   Plaintiff,
13
                   v.
14                                                CLASS ACTION COMPLAINT FOR
      OLD NAVY, LLC, a Delaware limited           VIOLATION OF PENAL CODE § 631
15    liability company; and DOES 1 through
      25, inclusive,
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                   Defendants.
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                                       CLASS ACTION COMPLAINT
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 1                                          INTRODUCTION
 2          1.     Plaintiff Miguel Licea (“Plaintiff”) brings this class action on his own
 3    behalf and on behalf of all other California citizens similarly situated against Defendant
 4    for its illegal wiretapping of all communications with Defendant’s website,
 5    www.oldnavy.gap.com (the “Website”).
 6          2.     Unbeknownst to visitors to the Website, Defendant has secretly deployed
 7    “keystroke monitoring” software that Defendant uses to surreptitiously intercept,
 8    monitor, and record the communications (including keystrokes and mouse clicks) of all
 9    visitors to its Website. Defendant neither informs visitors nor seeks their express or
10    implied consent prior to this wiretapping.
11          3.     Defendant has violated and continues to violate the California Invasion of
12    Privacy Act (“CIPA”), California Penal Code § 631, entitling Plaintiff and Class
13    Members to relief pursuant thereto.
14                                JURISDICTION AND VENUE
15          1.     This Court has subject matter jurisdiction of this action pursuant to 28
16    U.S.C. Section 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100
17    or more class members, (ii) there is an aggregate amount in controversy exceeding
18    $5,000,000, exclusive of interest and costs, and (iii) there is at least minimal diversity
19    because at least one Plaintiff and Defendant are citizens of different states.
20          2.     Pursuant to 28 U.S.C. Section 1391, this Court is the proper venue for this
21    action because a substantial part of the events, omissions, and acts giving rise to the
22    claims herein occurred in this District: Plaintiff is a citizen of California who resides in
23    this District; Defendant conducted a substantial portion of the unlawful activity in this
24    District; and Defendant conducts business in this District.
25          3.     Defendant is subject to personal jurisdiction in California based upon
26    sufficient minimum contacts which exist between Defendant and California. Defendant
27    also does business in California.
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1                                               PARTIES
2           4.     Plaintiff is an adult citizen of California residing within the Central District
3     of California.
4           5.     Defendant is a Delaware limited liability company.            Defendant does
5     business and affects commerce within the state of California and with California
6     residents.
7           6.     The above-named Defendant, along with its affiliates, subsidiaries and
8     agents, are collectively referred to as “Defendants.”       The true names and capacities
9     of the Defendants sued herein as DOE DEFENDANTS 1 through 25, inclusive, are
10    currently unknown to Plaintiff, who therefore sues such Defendants by fictitious names.
11    Each of the Defendants designated herein as a DOE is legally responsible for the
12    unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the Complaint
13    to reflect the true names and capacities of the DOE Defendants when such identities
14    become known.
15          7.     Plaintiff is informed and believes that at all relevant times, every
16    Defendant was acting as an agent and/or employee of each of the other Defendants and
17    was acting within the course and scope of said agency and/or employment with the full
18    knowledge and consent of each of the other Defendants.
19          8.     Plaintiff is informed and believe that each of the acts and/or omissions
20    complained of herein was made known to, and ratified by, each of the other Defendants.
21                                   FACTUAL ALLEGATIONS
22          9.     Without warning visitors or seeking their consent, Defendant has secretly
23    deployed wiretapping software on its Website. This software allows Defendant to
24    surreptitiously record every aspect of a visitor’s interaction with the Website, including
25    keystrokes, mouse clicks, data entry and other electronic communications.
26          10.    Defendant’s actions amount to the digital trifecta of looking over its
27    consumers’ shoulders, eavesdropping on consumers’ conversations, reading consumers’
28    journals. Defendant’s conduct is both illegal and offensive: indeed, a recent study

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1     conducted by the Electronic Privacy Information Center, a respected thought leader
2     regarding digital privacy, found that: (1) nearly 9 in 10 adults are “very concerned”
3     about data privacy, and (2) 75% of adults are unaware of the extent to which companies
4     gather,     store,     and      exploit      their     personal         data.         See
5     https://archive.epic.org/privacy/survey/ (last downloaded July 2022).
6           11.    Within the past year, Plaintiff visited Defendant’s Website. Defendant’s
7     website secretly recorded plaintiff’s visit to Defendant’s website using a “session
8     replay” program that captures and replays a video reproduction of a user’s experience
9     on the website – including all mouse movements, clicks, page visits, and scrolling.
10          12.    The existence of the website’s deployment of sessions replay has been
11    confirmed by a team of independent experts using a complex two-step process. First,
12    the experts inserted a unique text string into a page on the website and then searched
13    page traffic for evidence of that “fingerprint” being sent to a third party. They found
14    that the “fingerprint” was sent by Defendant to a dedicated URL at Clicktale.net, a
15    spyware company now owned by Contentsquare. As second-step confirmation, the
16    independent experts injected a large chunk of data into a page and tracked an identical
17    corresponding “bump” in the size of the data sent to Clicktale.
18          13.    In addition, Plaintiff communicated with someone that Plaintiff believed to
19    be customer service representative.       In actuality, Defendant’s Website utilizes a
20    sophisticated “chatbot” created by a company known as PolSource. That program
21    convincingly impersonates an actual human that encourages consumers to share their
22    personal information. At the same time, the Defendant simultaneously logs, records
23    and stores the entire conversation using secretly embedded wiretapping technology.
24          14.    Both the “chatbot” and “replay” technology were created by third party
25    providers who license the technology to Defendant and with whom Defendant routinely
26    shares the contents of the wiretapped communications for both storage and data
27    harvesting purposes.
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1           15.     Defendant did not inform Plaintiff, or any of the Class Members, that
2     Defendant was secretly monitoring, recording, and sharing their communications.
3           16.     Defendant did not seek Plaintiff’s or the Class Members’ consent to
4     monitoring, recording, and sharing the electronic communications with the Website.
5           17.     Plaintiff and Class Members did not know at the time of the
6     communications that Defendant was secretly intercepting, monitoring, recording, and
7     sharing the electronic communications.
8                                     CLASS ALLEGATIONS
9           18.     Plaintiff brings this action individually and on behalf of all others similarly
10    situated (the “Class”) defined as follows:
11          All persons within California who: (1) within one year of the filing of
12          this Complaint visited Defendant’s website, and (2) had their
13          electronic communications intercepted, recorded, monitored, and/or
14          shared by Defendant without prior consent.
15          19.     NUMEROSITY: Plaintiff does not know the number of Class Members
16    but believes the number to be in the tens of thousands, if not more. The exact identities
17    of Class Members may be ascertained by the records maintained by Defendant.
18          20.     COMMONALITY: Common questions of fact and law exist as to all Class
19    Members, and predominate over any questions affecting only individual members of the
20    Class. Such common legal and factual questions, which do not vary between Class
21    members, and which may be determined without reference to the individual
22    circumstances of any Class Member, include but are not limited to the following:
23                a. Whether Defendant caused Plaintiff’s and the Class’s electronic
24                  communications with the Website to be recorded, intercepted and/or
25                  monitored;
26                b. Whether Defendant violated CIPA based thereon;
27                c. Whether Plaintiff and Class Members are entitled to statutory damages
28                  pursuant to Cal. Penal Code § 631(a);

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1                 d. Whether Plaintiff and Class Members are entitled to punitive damages
2                    pursuant to Cal. Civil Code § 3294; and
3                 e. Whether Plaintiff and Class Members are entitled to injunctive relief.
4           21.      TYPICALITY: As a person who visited Defendant’s Website and had her
5     electronic communications recorded, intercepted and monitored, Plaintiff is asserting
6     claims that are typical to the Class.
7           22.      ADEQUACY: Plaintiff will fairly and adequately protect the interests of
8     the members of The Class. Plaintiff has retained attorneys experienced in the class
9     action litigation. All individuals with interests that are actually or potentially adverse to
10    or in conflict with the class or whose inclusion would otherwise be improper are
11    excluded.
12          23.      SUPERIORITY: A class action is superior to other available methods of
13    adjudication because individual litigation of the claims of all Class Members is
14    impracticable and inefficient. Even if every Class Member could afford individual
15    litigation, the court system could not. It would be unduly burdensome to the courts in
16    which individual litigation of numerous cases would proceed.
17                                       CAUSE OF ACTION
18                       Violations of the California Invasion of Privacy Act
19                                       Cal. Penal Code § 631
20          24.      Section 631(a) of California’s Penal Code prohibits and imposes liability
21    upon any entity that “by means of any machine, instrument, contrivance, or in any other
22    manner,” (1) “intentionally taps, or makes any unauthorized connection, whether
23    physically, electrically, acoustically, inductively, or otherwise, with any telegraph or
24    telephone wire, line, cable, or instrument, including the wire, line, cable, or instrument
25    of any internal telephonic communication system,” or (2) “willfully and without the
26    consent of all parties to the communication, or in any unauthorized manner, reads, or
27    attempts to read, or to learn the contents or meaning of any message, report, or
28    communication while the same is in transit or passing over any wire, line, or cable, or is

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1     being sent from, or received at any place within this state” or (3) “uses, or attempts to
2     use, in any manner, or for any purpose, or to communicate in any way, any information
3     so obtained, or who aids, agrees with, employs, or conspires with any person or persons
4     to unlawfully do, or permit, or cause to be done any of the acts or things mentioned
5     above in this section”.
6           25.     Section 631 of the California Penal Code applies to internet
7     communications and thus applies to Plaintiff’s and the Class’s electronic
8     communications with Defendant’s Website. (“Though written in terms of wiretapping,
9     Section 631(a) applies to Internet communications. It makes liable anyone who ‘reads,
10    or attempts to read, or to learn the contents’ of a communication ‘without the consent of
11    all parties to the communication.’ Cal. Penal Code § 631(a).” Javier v. Assurance IQ,
12    LLC, 21-16351, 2022 WL 1744107, at *1 (9th Cir. May 31, 2022).
13          26.     The software employed by Defendant on its Website to record Plaintiff’s
14    and the Class’s electronic communications qualifies as a “machine, instrument,
15    contrivance, or … other manner” used to engage in the prohibited conduct alleged
16    herein.
17          27.     At all relevant times, Defendant intentionally caused the internet
18    communication between Plaintiff and Class Members with Defendant’s website to be
19    tapped and recorded.
20          28.     At all relevant times, Defendant willfully, and without the consent of all
21    parties to the communication, caused to be intercepted, read or attempted to be read,
22    logged, and stored, the contents of electronic communications of Plaintiff and Class
23    Members with its Website, while the electronic communications were in transit over
24    any wire, line or cable, or were being sent from or received at any place within
25    California.
26          29.     Plaintiff and Class Members did not consent to any of Defendant’s actions
27    in implementing wiretaps on its Website, nor did Plaintiff or Class Members consent to
28    Defendant’s intentional access, interception, recording, monitoring, reading, learning

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1     and collection of Plaintiff and Class Members’ electronic communications with the
2     Website.
3           30.    Defendant’s conduct constitutes numerous independent and discreet
4     violations of Cal. Penal Code § 631(a), entitling Plaintiff and Class Members to
5     injunctive relief and statutory damages of at least $2,500.00 per violation.
6

7                                    PRAYER FOR RELIEF
8     WHEREFORE, Plaintiff prays for the following relief against Defendant:
9                  1.    An order certifying the Class, naming Plaintiff as the representative
10          of the Class and Plaintiff’s attorneys as Class counsel;
11                 2.    An order declaring Defendant’s conduct violates CIPA;
12                 3.    An order of judgment in favor of Plaintiff and the Class and against
13          Defendant on the cause of action asserted herein;
14                 4.    An order enjoining Defendant’s conduct as alleged herein and any
15          other injunctive relief that the Court finds proper;
16                 5.    Statutory damages to Plaintiff and the Class pursuant to Cal. Penal
17          Code § 631(a);
18                 6.    Punitive damages to Plaintiff and the Class pursuant to Cal. Civil
19          Code § 3294;
20                 7.    Prejudgment interest;
21                 8.    Reasonable attorneys’ fees and costs; and
22                 9.    All other relief that would be just and proper as a matter of law or
23          equity, as determined by the Court.
24    Dated: August 10, 2022                 PACIFIC TRIAL ATTORNEYS, APC
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26                                           By:
                                             Scott. J. Ferrell
27                                           Attorneys for Plaintiff
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